




Dismissed and Memorandum Opinion filed April 3, 2008








Dismissed
and Memorandum Opinion filed April 3, 2008.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-08-00066-CV

____________

&nbsp;

BKR BUILDING PRODUCTS, L.L.C, Appellant

&nbsp;

V.

&nbsp;

LOUIS HOLLINGSWORTH, D/B/A LCH
&amp; ASSOCIATES, INC., 

AND WAYNE MCNATT D/B/A MCNATT
FLOORING ASSOCIATES, L.L.C, Appellees

&nbsp;



&nbsp;

On Appeal from the 165th District
Court

Harris County, Texas

Trial Court Cause No.
2007-54915

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This
appeal is from a judgment signed October 29, 2007.&nbsp; No clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 








On March
5, 2008, notification was transmitted to all parties of the Court's intent to
dismiss the appeal for want of prosecution unless, within fifteen days,
appellant paid or made arrangements to pay for the record and provided this
court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant
has not provided this court with proof of payment for the record. Accordingly,
the appeal is ordered dismissed.

&nbsp;

PER
CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed April
3, 2008.

Panel consists of Justices Fowler, Frost, and Seymore.


&nbsp;





